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                           IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF UTAH, NORTHERN DIVISION


    YOUNG AUTOMOTIVE GROUP, LLC, a
    Utah limited liability company; and CENTER               ORDER TO SHOW CAUSE
    OF EXCELLENCE, LLC, a Utah limited
    liability company,

                       Plaintiffs,                             Case No. 1:23-cv-117-TC

                                                                 Judge Tena Campbell
    v.

    ZURICH AMERICAN INSURANCE
    COMPANY SERVICES, INC., a New York
    corporation,

                      Defendant.


           Plaintiffs Young Automotive Group, LLC, and Center of Excellence, LLC, filed the

original complaint in this action on November 2, 2023 (ECF No. 2). The Plaintiffs assert that

jurisdiction is appropriate under 28 U.S.C. § 1332 based on diversity of citizenship. But “for

entities other than corporations,” the court’s “diversity jurisdiction in a suit by or against the

entity depends on the citizenship of … each of its members.” Penteco Corp. Ltd. Partnership-

1985A v. Union Gas Sys., Inc., 929 F.2d 1519, 1523 (10th Cir. 1991) (quoting Carden v.

Arkoma Assocs., 494 U.S. 185, 195–96 (1990)). The Plaintiffs have not pled the citizenship of

each member of Young Automotive Group, LLC, and Center of Excellence, LLC. 1 Until they

do so, the court cannot conclude that it has jurisdiction.

           Accordingly, on or before November 20, 2023, the Plaintiffs shall plead the citizenship of


1
 The Plaintiffs assert that Center of Excellence, LLC, is a wholly owned subsidiary of Young
Automotive Group, LLC. (Complaint ¶ 8, ECF No. 2.)
                                                                                                     1
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each member of Young Automotive Group, LLC, and Center of Excellence, LLC, to show

diversity. If diversity jurisdiction is not established, this case will be dismissed.

       SO ORDERED this 6th day of November, 2023.

                                               BY THE COURT:


                                               __ ______________________________________
                                               Tena Campbell
                                               United States District Judge




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